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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES,

               Plaintiff,

       v.                                         Criminal Action No. 21-6 (TJK)

DOUGLAS JENSEN,

               Defendant.


                                          ORDER

       It is hereby ORDERED that Douglas Jensen shall be released to the custody of his wife,

April Jensen, on July 14, 2021.



       SO ORDERED.



                                                         /s/ Timothy J. Kelly
                                                         TIMOTHY J. KELLY
                                                         United States District Judge

Date: July 13, 2021
